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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 GEORGE MOORE on behalf of himself                  :
 and others similarly situated,                     :
                                                    :
           Plaintiff,                               :   Case No. 1:19-cv-02504
                                                    :
 v.                                                 :
                                                    :
 CLUB EXPLORIA, LLC,                                :
      Defendant.                                    :
                                                    :
                                                    :
                                                    :
                                                /

                        FIRST AMENDED CLASS ACTION COMPLAINT

                                       Preliminary Statement

          1.      Plaintiff George Moore (“Plaintiff”) brings this action to enforce the consumer-

privacy provisions of the Telephone Consumer Protection Act, 47 U.S.C. § 227, a federal statute

enacted in 1991 in response to widespread public outrage about the proliferation of intrusive,

nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745

(2012).

          2. In or around March 2018, Defendant Club Exploria, LLC (“Club Exploria”) began a

cold-calling, prerecorded telemarketing campaign to promote vacations stays at its resort

properties in the Orlando, Florida area to persons who had no prior relationship with Club

Exploria whatsoever (the Telemarketing Campaign).

          3. Club Exploria, or its agents, obtained the telephone numbers to be called from third

party data brokers who sell the names, telephone numbers, and addresses of consumers for cash.

          4. To implement the Telemarketing Campaign, Club Exploria hired multiple vendors to

place the prerecorded calls on its behalf, including third parties Yodel Technologies, LLC,
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Acquis, LLC (“Acquis”) and its predecessor GA Investments, LLC (“GAI”), and Prospects DM,

LLC (“Prospects DM), a subcontractor of Acquis/GAI.

        5. Each vendor used a similar prerecorded script to promote the same Club Exploria

Orlando area resort properties and identified themselves in the script as the “Helping Hands

Association.”

        6.      Throughout the Telemarketing Campaign, Club Exploria maintained and

exercised control over these vendors’ actions on its behalf, including who was called, the precise

language of the prerecorded script used during the calls, and the frequency of the calls.

        7.      As described below, Plaintiff received two of these calls despite the fact that his

number is on the federal do-not call registry and that he never consented to receive such calls.

        8.      Because telemarketing campaigns generally place calls to hundreds of thousands

or even millions of potential customers en masse, the Plaintiff brings this action against Club

Exploria on behalf of a proposed nationwide class of other persons who received calls during the

Telemarketing Campaign.

        9.      A class action is the best means of obtaining redress for the Defendant’s wide

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                                 Parties

        10.     Plaintiff George Moore is a resident of Illinois in this District.

        11.     Defendant Club Exploria, LLC is a Delaware corporation that has its principal

office in Clermont, FL and a registered agent of Cogency Global, Inc., 115 N Calhoun St #4,

Tallahassee, FL 32301. Defendant Club Exploria itself, and through third parties, places

telemarketing calls into this District, as it did with the Plaintiff.




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                                       Jurisdiction & Venue

       12.     The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

       13.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because Plaintiff Moore is a

resident of this district, which is where he received the illegal telemarketing calls that are the

subject of this putative class action lawsuit.

                                       TCPA Background

       14.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits Automated Telemarketing Calls

       15.     The TCPA makes it unlawful “to initiate any telephone call to any residential

telephone line using an artificial or prerecorded voice to deliver a message without the prior

express consent of the called party, unless the call is initiated for emergency purposes.” See 47

U.S.C. § 227(b)(1)(B).

       16.     The TCPA provides a private cause of action to persons who receive such calls.

See 47 U.S.C. § 227(b)(3).

       17.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.




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        18.     In 2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
        and be sufficient to show that the consumer: (1) received “clear and conspicuous
        disclosure” of the consequences of providing the requested consent, i.e., that the
        consumer will receive future calls that deliver prerecorded messages by or on behalf
        of a specific seller; and (2) having received this information, agrees unambiguously
        to receive such calls at a telephone number the consumer designates.[] In addition,
        the written agreement must be obtained “without requiring, directly or indirectly,
        that the agreement be executed as a condition of purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).


                  The Continued Problem of Automated Telemarketing Calls

        19.     “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting Off Robocalls (July 22, 2016),

https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls (statement of FCC

chairman).

        20.     “The FTC receives more complaints about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).

        21.     In fiscal year 2017, the FTC received 4,501,967 complaints about robocalls,

compared with 3,401,614 in 2016. Federal Trade Commission, FTC Releases FY 2017 National

Do Not Call Registry Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-

events/press-releases/2017/12/ftc-releases-fy-2017-nationaldo-not-call-registry-data-book-dnc.




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        22.     The New York Times reported on the skyrocketing number of robocall complaints

and widespread outrage about illegal telemarketing. Tara Siegel Bernard, Yes, It’s Bad.

Robocalls, and Their Scams, Are Surging, N.Y. Times (May 6, 2018),

https://www.nytimes.com/2018/05/06/your-money/robocalls-riseillegal.html; see also Katherine

Bindley, Why Are There So Many Robocalls? Here’s What You Can Do About Them, Wall St. J.

(July 4, 2018), https://www.wsj.com/articles/why-there-are-so-manyrobocalls-heres-what-you-

can-do-about-them-1530610203. Even more recently, a technology provider combating

robocalls warned that nearly half of all calls to cell phones next year will be fraudulent. Press

Release, First Orion, Nearly 50% of U.S. Mobile Traffic Will Be Scam Calls by 2019 (Sept. 12,

2018), https://www.prnewswire.com/news-releases/nearly-50-of-us-mobile-traffic-will-be-scam-

calls-by-2019-300711028.html


                                          Factual Allegations

Calls to Mr. Moore

        23.     The telephone number in question, (630) 699-XXXX, is a residential number

registered to a cellular telephone service.

        24.     The number has been on the National Do Not Call Registry for more than ten

years prior to the receipt of the calls at issue.

        25.     Mr. Moore has never removed his residential telephone number from the National

Do Not Call Registry.

        26.     On September 14, 2018 and October 16, 2018, Mr. Moore received a pre-recorded

telemarketing call from one of Defendant’s vendors promoting the Orlando area resort.




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       27.     In order to confirm the identity of the calling party, the Plaintiff listened to the

telemarketing pitch and confirmed that Club Exploria was the party whose services were being

promoted.

       28.     The calls were offering a vacation at Summer Bay Orlando, a Club Exploria

property.

       29.     The telemarketing representative did not identify his company but did claim to be

from the “Helping Hands Association”.

       30.     The calls were made from the Caller IDs (630) 412-0020 and (630) 948-8605.

       31.     Like Mr. Moore, other individuals have complained about unsolicited calls from

those numbers. See e.g. https://www.shouldianswer.com/phone-number/6309488605;

https://www.everycaller.com/phone-number/1-630-412-0020 (Last Visited February 26, 2019).

       32.     The purpose of these calls was to generate sales for Club Exploria.

       33.     Plaintiff and all members of the classes, defined below, have been harmed by the

acts of Defendant because their privacy has been violated and they were subjected to annoying

and harassing calls that constitute a nuisance. The calls also occupied Plaintiff’s telephone line

from legitimate communication and wasted his time.

       34.     Plaintiff has not provided Defendant with his prior express written consent to

place telemarketing calls to him.

                    Club Exploria’s Liability for the Telemarketing Calls

       35.     The Federal Communication Commission (“FCC”) is tasked with promulgating

rules and orders related to enforcement of the TCPA. See 47 U.S.C. 227(b)(2).

       36.     The FCC has explained that its “rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations.” See In re Rules &




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Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

10 FCC Rcd 12391, 12397 (¶ 13) (1995).

       37.     In their January 4, 2008 ruling, the FCC reiterated that a company on whose

behalf a telephone call is made bears the responsibility for any violations. Id. (specifically

recognizing “on behalf of” liability in the context of an autodialed or prerecorded message call

sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).

       38.     On May 9, 2013, the FCC confirmed this principle in a Declaratory Ruling

holding that sellers such as Club Exploria may not avoid liability by outsourcing telemarketing:

       [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
       activities to unsupervised third parties would leave consumers in many cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proof, unidentifiable, or located outside
       the United States, as is often the case. Even where third-party telemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
       that physically places the call would make enforcement in many cases substantially
       more expensive and less efficient, since consumers (or law enforcement agencies)
       would be required to sue each marketer separately in order to obtain effective relief.
       As the FTC noted, because “[s]ellers may have thousands of ‘independent’
       marketers, suing one or a few of them is unlikely to make a substantive difference
       for consumer privacy.

May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

       39.     More specifically, the May 2013 FCC Ruling held that, even in the absence of

evidence of a formal contractual relationship between the seller and the telemarketer, a seller is

liable for telemarketing calls if the telemarketer “has apparent (if not actual) authority” to make

the calls. 28 FCC Rcd at 6586 (¶ 34).

       40.     The May 2013 FCC Ruling rejected a narrow view of TCPA liability, including

the assertion that a seller’s liability requires a finding of formal agency and immediate direction

and control over the third-party who placed the telemarketing call. Id. at 6587 n. 107.




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       41.     The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

               [A]pparent authority may be supported by evidence that the seller allows
               the outside sales entity access to information and systems that normally
               would be within the seller’s exclusive control, including: access to detailed
               information regarding the nature and pricing of the seller’s products and
               services or to the seller’s customer information. The ability by the outside
               sales entity to enter consumer information into the seller’s sales or customer
               systems, as well as the authority to use the seller’s trade name, trademark
               and service mark may also be relevant. It may also be persuasive that the
               seller approved, wrote or reviewed the outside entity’s telemarketing
               scripts. Finally, a seller would be responsible under the TCPA for the
               unauthorized conduct of a third-party telemarketer that is otherwise
               authorized to market on the seller’s behalf if the seller knew (or reasonably
               should have known) that the telemarketer was violating the TCPA on the
               seller’s behalf and the seller failed to take effective steps within its power
               to force the telemarketer to cease that conduct.

28 CC Rcd at 6592 (¶ 46).

       42.     Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information.” Id. at 6592-593 (¶ 46). Moreover, evidence of circumstances pointing to apparent

authority on behalf of the telemarketer “should be sufficient to place upon the seller the burden

of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).

       43.     After receiving the pre-recorded telemarketing calls, Plaintiff contacted Club

Exploria who informed him that he was called by a vendor of theirs.

       44.     Club Exploria is legally responsible for ensuring that the company that made the

calls complied with the TCPA, even if Club Exploria did not itself make the calls.

       45.     Club Exploria knowingly and actively accepted business that originated through

the illegal telemarketing calls from the company that made the calls.




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       46.     In fact, Club Exploria accepted the business from the illegal calls, even though it

had previously received complaints alleging that the third parties working on its behalf were

violating the TCPA.

       47.     By hiring a company to make calls on its behalf, Club Exploria “manifest[ed]

assent to another person . . . that the agent shall act on the principal’s behalf and subject to the

principal’s control” as described in the Restatement (Third) of Agency.

       48.     Throughout the Telemarketing Campaign, Club Exploria maintained control and

gave interim instructions to its vendors regarding (a) the volume of calls to be made, (b) the

numbers they were permitted to call, (c) how to respond to complaints about the calls, and (d)

changes to be made to the pre-recorded script that was used for calling.

       49.     Club Exploria had day-to-day control over each of the vendors’ actions on its

behalf, including the ability to prohibit them from using pre-recorded messages to contact

potential customers of Club Exploria.

       50.     Club Exploria instructed its vendors on (a) when days they could make the calls

(b) what time they were to start and stop (c) what they could say and (d) the amount of calls they

could make.

       51.     Club Exploria also instructed its vendors to transfer the called parties to Club

Exploria to complete the process of signing a customer up for their service. Moreover, Club

Exploria had absolute control over whether, and under what circumstances, it would accept a

customer.

                                      Class Action Allegations

       52.     As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

Counts One and Two set forth below on behalf of the following classes of persons or entities




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similarly situated throughout the United States.

       53.     The classes of persons Plaintiff proposes to represent are tentatively defined as:


       DO NOT CALL LIST CLASS
               All persons within the United States to whom: (a) Defendant or a third
               party acting on its behalf, made at least two telephone solicitation
               calls during a 12-month period; (b) promoting Defendant’s resort
               properties (c) to a residential landline or cellular telephone number
               registered on the do-not-call list for at least 30 days prior to the first
               call; (d) on or after March 1, 2018.

       PRERECORDED CLASS

               All persons within the United States to whom: (a) Defendant or a
               third party acting on its behalf, made one or more telephone calls
               promoting Defendant’s resort properties; (b) to a residential landline
               or cellular telephone number; (c) through the use of a prerecorded
               voice; and (d) on or after March 1, 2018.


       54.     Excluded from the classes are the Defendant, and any entities in which the

Defendant has a controlling interest, the Defendant’s agents and employees, any judge to whom

this action is assigned, and any member of such judge’s staff and immediate family.

       55.     The classes as defined above are identifiable through phone records and phone

number databases.

       56.     The potential class members number at least in the thousands. Individual joinder

of these persons is impracticable.

       57.     Plaintiff is a member of the classes.

       58.     There are questions of law and fact common to Plaintiff and to the proposed

classes, including but not limited to the following:

               a.      Whether Club Exploria violated the TCPA by calling individuals on the

National Do Not Call Registry;



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                 b.     Whether Defendant’s calls are solicitations;

                 c.     Whether Defendant placed calls without obtaining the recipients’ prior

express written consent for the call;

                 d.     Whether the Plaintiff and the class members are entitled to statutory

damages as a result of Defendant’s actions.

                 e.     Whether Defendant is vicariously liable for the calls.

        59.      Plaintiff’s claims are typical of the claims of class members.

        60.      Plaintiff is an adequate representative of the classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

classes, and is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

        61.      The actions of the Defendant are generally applicable to the classes as a whole

and to Plaintiff.

        62.      Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or its agents.

        63.      The likelihood that individual members of the classes will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

        64.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.


                                            Legal Claims

                                           Count One
                        Violations of the TCPA’s Do Not Call Provisions


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       65.        Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       66.        Defendant violated 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)(2) by initiating,

or having one of its vendors initiate on its behalf, multiple solicitation calls within a 12-month

period to residential telephone numbers despite their registration on the National Do Not Call

Registry and without signed, written prior express invitation or permission,

       67.        Defendant’s violations were negligent and/or willful.

                                          Count Two
                Violation of the TCPA’s Automated Telemarketing Call Provisions

       68.        Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       69.         Defendant violated 47 U.S.C. § 227(b)(1)(A), 47 U.S.C. § 227(b)(1)(B), 47

C.F.R. § 64.1200(a)(2), and 47 C.F.R. § 64.1200(a)(3) by initiating, or having one of its vendors

initiate on its behalf, a call that includes an advertisement or constitutes telemarketing to the

Plaintiff’s cellular telephone number using a pre-recorded voice without his prior express written

consent.

       70.        Defendant’s violations were negligent and/or willful.

                                             Relief Sought

       For himself and all Classes members, Plaintiff requests the following relief:

       A.         Certification of the proposed Classes;

       B.         Appointment of Plaintiff as representative of the Classes;

       C.         Appointment of the undersigned counsel as counsel for the Classes;




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       D.     A declaration that Defendant and/or its affiliates, agents, and/or other related

entities’ actions complained of herein violate the TCPA;

       E.     An order enjoining Defendant and/or its affiliates, agents, and/or other related

entities, as provided by law, from using pre-recorded messages;

       F.     An award to Plaintiff and the Classes of damages, as allowed by law;

       G.     Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.     Orders granting such other and further relief as the Court deems necessary, just,

and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.

                                             PLAINTIFF,
                                             By his attorneys

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